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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION

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  UNITED STATES OF AMERICA,                      *                       CR. 07-40055-24
                                                 *
                         Plaintiff:              *
                                                 *             ORDER REGARDING
         - vs ­                                  *           CREDIT FOR TIME SERVED
                                                 *
                                                 *
  CRAIG LEWIS,                                   *
                                                 *
                         Defendant.              *
                                                 *
  ***************************************************
         Defendant Craig Lewis has moved this Court for a declaratory order granting him credit for
  time served prior to entering a plea of guilty in this case. Doc. 1878. The United States responded
  that based on its calculations and understanding of the plea negotiations it does not object to this
  Court granting 403 days ofcredit to the Defendant's federal sentence. Doc. 1882. Neither party has
  submitted authority for the Court entering a declaratory order in this matter. The Court, however,
  will construe Defendant's motion as a motion for correction ofa clear error ofcalculation under FED.
  R. CRIM. P. 35(a) and a Second Amended Judgment will be issued giving Defendant Craig Lewis
  403 days of credit for time served prior to his entering a plea of guilty.


         IT IS SO ORDERED.
         Dated this    t0~ day of March, 2011.
                                                 BY THE COURT:



                                                      wrence L. Piersol
                                                     nited States District Judge
